                Case 4:02-cr-40053-JPG                   Document 456 Filed 07/25/05                          Page 1 of 6     Page ID
                                                                   #540
BAO 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet I




                                              SOUTHERN          District of            ILLINOIS
UNlTED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
v.
LARRY GENE CHAPMAN
                                                                       Case Number:                           4:02CR40053-007-JPG
                                                                       USM Number:                            063 10-025
                                                                        Eric Butts
                                                                        Defendant's Altomey
THE DEFENDANT:
X pleaded guilty to count(s)
-                                    1 of the Third Superseding Indictment.

- pleaded nolo contendere to count(s)
   which was accepted by the court.
- was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended           Count
21 U.S.C. 846                    Conspiracy to Manufacture and Distribute More than 500 Grams                 11/30/2002       lsss
                                 of Methamphetamine




       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
-

- Count(s)                                               - is   1 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this d~stnitw ~ i h ~30n da s of any change of name, resden
or ma~lmgaddress untd all fines, restlhltlon, costs, and special assessments imposed by this judgment are f d y paid. lfordered to pay rcsututlo
the defendant must notify the coun and llnited States attorney of matmal changes m econonuc circumstances

                                                                        Julv 21,2005
                                                                        Date of I m p i t i o n of Judgment




                                                                        J. Phil Gilbert. District Judge
                                                                       N     m     l    e of Judge
                   Case 4:02-cr-40053-JPG                   Document 456 Filed 07/25/05                  Page 2 of 6      Page ID
                                                                      #541
A 0 245B       (Rev. 12103) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                        Judgment -Page 2
DEFENDANT:                        LARRY GENE CHAPMAN
CASE NUMBER:                      4:02CR40053-007-JPG


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:               87 months

 The Court ORDERS the execution of this sentence be STAYED for 30 days



     0 The court makes the following recommendations to the Bureau of Prisons:
     -




     0 The defendant is remanded to the custody of the United States Marshal
     -
     0 The defendant shall surrender to the United States Marshal for this district:
     -

           -
           0     at                                     0 a.m.
                                                        -          1 p.m.        on
           -
           0     as notified by the United States Marshal.

     X The defendant shall surrender for s e ~ c of
                                                 e sentence at the institution designated by the Bureau of Prisons:

           -     before 2 p.m. on

           x     as notified by the United States Marshal.
           0
           -     as notified by the Probation or Pretnal Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 a                                                        , with a certifiedcopy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                              BY
                                                                                      DEPUTY UNITED STATES MARSHAL
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                                                                    #542
A 0 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            ludgment4age 1_
 DEFENDANT:                    LARRY GENE CHAPMAN
 CASE NUIvBER:                 4:02CR40053-007-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :           3 years on Count lsss.




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall subnnt to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as d e t e m e d by the court.
 IJ
 -        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 -
 E4       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 -        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 -        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule oflpayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month,
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall reham from cxcesslve use of alcohol and shall nor purchase, poasess, use, d~srnbute,or a h s t e r any
            conholled substance or any paraphemaha related to any controlled substances, except as prescr~bedby a physman,
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so%y the profation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit contiscation    of an
           contraband observed in plain view of the probatlon officer;
  11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13) as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's crimin
            record or ,person$ histo~yor characteristics and shall permit the probation officer to make such notifications and to c o n f i th
            defendant s compliance with such notification requirement.
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                                                                 #543
A 0 245B   (Rev. 12/03). Judgment
                            .     in a Criminal Case
           sheet 3C - Supervised Release
                                                                                          Judgment-Page   4
DEFENDANT:                 LARRY GENE CHAPMAN
CASE NUMBER:               4:02CR40053-007-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
commcncernent of the tern1 ofYsu~crv~sed                              r
     The defendant shall pa any tinanc~alpenalty that is imposed b this ]ud ent and that rcmams unpa~dat the
                                                                               F"
                                                                       . . the mancial ocnalw in ~nstallmentbof S5.00 oer
                                           release The defendant shal oav
month or ten percent of his net nionthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any r y t e d financial,information. The defendant is advlsed that the probation office may share financial
information with the manclal Llhgat~onUnit.

anticipate or unexpected tinanc~algams to the outstandmg court-ordered financ~alobli~at~on.
irnmeaiately notifi- the probation officer of the receipt of any indicated monies.
                                                                                    -          #
                                                                                               '
                                                                                              c dcfcndant sha I  r
  The defendant shall apply all monies recc~vcdfrom Income tax refunds, lottery winnings, jud ents, andor an other
                Case 4:02-cr-40053-JPG                 Document 456 Filed 07/25/05                     Page 5 of 6        Page ID
                                                                 #544
A 0 2458   (Rev. 12/03) Judment in a Criminal Case
           sheet 5 - ~ " m & Monetav Penalties
                                                                                                   Judgment -Page 5
DEFENDANT:                        LARRY GENE CHAPMAN
CASE NUMBER:                      4:02CR40053-007-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     -
                                                                     Fine                                 Restitution
 TOTALS            $ 100.00                                       $ -0-                                $ -0-



 0 The determination of restitution is deferred until -
 -                                                     . An Amended Judgment in a Criminal Case(A0 245C) will be enter
      after such determination.

 0 The defendant must make restitution (includng community restitution) to the following payees in the amount listed below.
 -

      If the defendant makes a partial payment, each pa ce shall receive an approxunately pro ortioned ayment, unless specified othcnvlse
      the prior~ryorder or percentage payment colurnnielow. Ilourver, pursuant to 18 L .s.F 6 36640, all nonferlcral vtctnm must be p
      before the Un~tedSlates 1s pa~d

 Name of Pavee                              Total Loss*                    Restitution Ordered                     Prioritv or Percentage




 TOTALS                             $                                     $


 -     Restitution amount ordered pursuant to plea agreement $

 -    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenthday after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 -
 0     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       KI the interest requirement is waived for the
       -                                                       f e        restitution.

       - the interest requirement for the - fine             0 restitution is modified as follows:
                                                             -
 *Findings for the total amountoflosses are requiredunder Chapters 109A 110,110.4, and 113AofTitle 18 for offenses committed onor aft
 September 13, 1994, but before April 23, 1996.
               Case 4:02-cr-40053-JPG                   Document 456 Filed 07/25/05                           Page 6 of 6    Page ID
                                                                  #545
AO 2458    (Rev. 12103) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                              Judgment - Page 6
DEFENDANT:                  LARRY GENE CHAPMAN
CASE W E R :                4:02CR40053-007-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     xg Lump sum payment of $             100.00            due immediately, balance due

           -
           0     not later than                                   , or
           xg in accordance              1 C, g        D,    g     E, or          1 F below; or
B     g Payment to begin immediately (may he combined with                       1C,          - D, or    1F below); or
C     g Payment inequal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     g Payment inequal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     g Payments are due immediately, through the Clerk of the Court, but may be paid fiom prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $        ,  per month,         % of defendants monthly gross earnings,
           whichever is greater.

F     xg Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $5.00 or ten percent of his net month
           income, whichever is greater.




llnlcss the court has exprcssl ordered ohenvise, if th~s
impnsonmcnt. All cnrnmarrnoneta penalties, except tii,ose payments made through
Responsih~lityProgram are made t o x e clerk of thc court.
                                                                                                        tc
                                                       jud mcnt imposes imprisonment, pa lent ofcrirmnal monetary penalties is due dwin
                                                                                          Federal Hweau of Prisons' Inmate Flnanci


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




-
0     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




-     The defendant shall pay the cost of prosecution.
-     The defendant shall pay the following court cost(s):
-     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the follow& order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal
                                                       1.
 (5) fme interest, (6) community reshtuhon, (7) pena hes, and (8) costs, includmg cost of prosecuhon and court costs.



                                                            -~~          -   ~         ~~-~
